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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                              July 11, 2024
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 24-60040     Intuit v. FTC
                       Agency No. 9408

Enclosed is an order entered in this case.
                                  Sincerely,
                                  LYLE W. CAYCE, Clerk



                                  By: _________________________
                                  Monica R. Washington, Deputy Clerk
                                  504-310-7705
Mr. Justin Aimonetti
Ms. Anisha Sasheen Dasgupta
Mr. Orlando Economos
Mr. Steven Engel
Ms. Carrie Yvette Flaxman
Ms. Mariel Goetz
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